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                    P.O. Box 960061
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                    Synchrony Bank Care Credit
                    P.O. Box 960061
                    Orlando, FL 32896

                    Synchrony Home
                    P.O. Box 965033
                    Orlando, FL 32896-5033

                    Target
                    P.O. Box 660170
                    Dallas, TX 75266


                    TJX Rewards
                    P.O. Box 530949
                    Atlanta, GA 30353

                    TJX Rewards Platinum Mastercard
                    P.O. Box 530949
                    Atlanta, GA 30353-0949

                    U.S. Bank
                    P.O. Box 790408
                    Saint Louis, MO 63179


                    Wells Fargo
                    P.O. Box 29482
                    Phoenix, AZ 85038
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